UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                            )
IN RE:                                                      )   Chapter 11
                                                            )
THE DIOCESE OF ROCHESTER                                    )   Case No. 19-20905
                                                            )
                               Debtor.                      )
                                                            )

                                 CERTIFICATE OF SERVICE

         I, Natasha D. Robinson, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 780 Third

Avenue, 34th Floor, New York, New York 10017-2024. I hereby certify under penalty of

perjury that on the 22nd day of July 2021, I electronically filed the Monthly Fee Statement of

Burns Bowen Bair LLP for Compensation for Services Rendered and Reimbursement of

Expenses as Special Insurance Counsel to the Official Committee of Unsecured Creditors of the

Diocese of Rochester for the Period May 26, 2021 through June 30, 2021 with the Clerk of the

Bankruptcy Court for the Western District of New York, using the CM/ECF system.

         I also certify that on July 22, 2021, copies of the above-referenced document were served

via First Class US Mail upon the parties set forth below:


 Kathleen D. Schmitt, Esq.                                  Stephen A. Donato
 Office of the U.S. Trustee                                 Bond, Schoeneck & King, PLLC
 Federal Office Building                                    One Lincoln Center
 100 State Street, Room 6090                                Syracuse, NY 13202-1355
 Rochester, NY 14614




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                  Description: Certificate of Service , Page 1 of 2
The Ad Hoc Parish Committee                    The Diocese of Rochester
c/o Woods Oviatt Gilman LLP                    Attn: Lisa M. Passero
Attn: Timothy P. Lyster                        Chief Financial Officer
1900 Bausch & Lomb Place                       1150 Buffalo Road
Rochester, NY 14604                            Rochester, NY 14624




Dated: July 22, 2021                        /s/ Natasha D. Robinson
                                                 Natasha D. Robinson




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                  Description: Certificate of Service , Page 2 of 2
